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                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA



DARUS HUNTER,

                    PLAINTIFF.                                     CIVIL ACTION

                                                                             18-0348

v.

 UNIVERSITY OF PENNSYLVANIA



                        DEFENDANT.



     PLAINTIFF'S MOTION FOR RECONSIDE                       ON AND BRIEF IN SUPPORT



            Pursuant to the Federal Rules of Civil Procedure, Plaintiff Darns Leon Hunter, in his

capacity as a Pro Se litigant, files this Motion for Reconsideration as follows:



                                 I.      INTRODUCTION

            This Court's May 7th 2018 order improperly referred the above-referenced action for an

Arbitration hearing. The scheduling of said hearing violates the Constitutional right of plaintiff to

have this matter decided by a jury pursuant to: Amendment VIL "In suits at common law,

where the value in controversy shall exceed twenty dollars, the right of trial by jury shall

be otherwise reexamined in any court of the United States, than according to the rules of
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the common law.be preserved, and no fact tried by a jury, shall be otherwise reexamined in

any court of the United States, than according to the rules of the common law". Plaintiff

demanded a jury upon the filing of the above-referenced complaint. Plaintiff is entitled to a jury

trial as a matter oflaw.



                        II. ARGUMENT AND AUTHORITIES



        Pursuant to federal rule 38, PlaintiffDarus Leon Hunter is entitled to a jury trial. Mr.

Hunter demanded a jury trial in the initial pleading, which was served upon the University of

Pennsylvania. "(a) Right Preserved. The right of trial by jury as declared by the Seventh

Amendment to the Constitution----or as provided by a federal statute-is preserved to the parties

inviolate. (b) Demand. On any issue triable of right by a jury, a party may demand a jury trial by:

(1) serving the other parties with a written demand-which may be included in a pleading-no

later than 14 days after the last pleading directed to the issue is served; and(2) filing the demand

in accordance with Rule 5(d)." Mr. Hunter's motion for reconsideration is appropriate. A motion

for reconsideration is appropriate in the following circumstances: (1) to address an intervening

change in controlling law; an intervening change in controlling law; (2) to consider new evidence

not previously available; (3) to correct a clear or manifest error oflaw or fact; or (4) to prevent

manifest injustice. Fisherman's Harvest, Inc. v. Post, Buckley, Schuh & Jernigan, Inc., et al.,

Denying a litigant a constitutionally protected right (such as right to a jury), constitutes a clear

manifest error oflaw as well as a grave injustice.



                     III. CONCLUSION AND REQUEST FOR RELIEF
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        For the foregoing reasons, Plaintiff Darns Leon Hunter in his capacity as a Pro Se litigant

hereby requests this Court reconsider the order of May 30th 2018 and schedule the above-

referenced matter for civil trial pursuant to federal rules of civil litigation.




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  DATE                                                          DARUS LEON HUNTER Pro Se
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